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7                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF ARIZONA
8
     In re:                                           (Chapter 7 Case)
9
     HOLLY LYNN MICKELSON,                            No. 2:20-bk-12093-MCW
10
                                                     TRUSTEE’S MOTION TO SELL REAL
11                   Debtor.                         PROPERTY ON AN AS-IS, WHERE-IS
                                                     BASIS AND TO APPROVE SALE/BIDDING
12                                                   PROCEDURES
13                                                   11 U.S.C. § 363(B)
14                                                   Location: 3217 Yelm Hwy SE, Apt 14, Olympia,
                                                     WA 98501
15

16

17            Roger W. Brown, Chapter 7 Trustee, by and through his counsel undersigned, herein files

18   his Motion to Sell Real Property on an As-Is, Where-Is Basis and to Approve Sale/Bidding
19
     Procedures (“Motion”) for entry of an order authorizing the Trustee to sell certain real property
20
     on an as-is, where-is basis. In support thereof, the Trustee respectfully states as follows:
21

22                        MEMORANDUM OF POINTS AND AUTHORITIES

23      I.       JURISDICTION
24
              1. This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and
25
     1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M), (N),
26

27   and (O).

28            2. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

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 1            3. The basis for the relief requested is 11 U.S.C. §§ 363(b), and Federal Rules of
 2
     Bankruptcy Procedure 2002 and 6004.
 3
        II.      BACKGROUND
 4

 5            4. This case was commenced by a Voluntary Petition filed by Holly Lynn Mickelson

 6   (“Debtor”) under Chapter 7 of Title 11, United States Code, on November 3, 2020.
 7
              5. Roger W. Brown is the duly appointed and acting Trustee of the Chapter 7 Estate
 8
     (hereinafter “Trustee”).
 9
10            6. Among the assets of this Estate is a reported 100% ownership interest in real property

11   generally described as 3217 Yelm Hwy SE, Apt 14, Olympia, WA 98501 (“Property”). The legal
12
     description of the Property is attached to hereto as Exhibit “A”.
13
              7. The Debtor scheduled the Property as having a value of $182,839.00 and as having a
14

15   mortgage in favor Specialized Loan Servicing LLC (the “Secured Creditor” or “SLS”).

16            8. The Secured Creditor’s first mortgage lien on the Property by virtue of a promissory note
17
     and mortgage recorded in the official records of Thurston County Washington and that as of the
18
     Petition Date, the total amount due to the Secured creditor is $161,108.60 (the “Secured Creditor
19

20   Indebtedness”).

21            9. Debtor is not currently servicing the debt and default interest and fees continue to accrue.
22
              10. Based on information available to the Trustee, the Trustee is concerned that there is
23
     insufficient equity in the Property to market the Property via a traditional sale and to satisfy Secured
24

25   Creditor and pay commissions and closing costs and administrative expenses associated therewith.

26            11. Secured Creditor has offered to purchase the Estate’s interest in the Property on an as-
27
     is, where-is basis for the sum of $7,500.00 and request that the conveyance is to occur via a Deed
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                                                    2
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 1   in Lieu of Foreclosure (“Offer”).
 2
        III.      LEGAL AUTHORITY
 3

 4          12.     This Court has jurisdiction over Debtor’s Chapter 7 case under 28 U.S.C. § 1334.
 5   Proceedings with respect to the Motion are core proceedings that the Court may hear and decide.
 6   See 28 U.S.C. § 157(b)(1) and (b)(2)(A), (M), (N), and (O). Moreover, venue is appropriate
 7   pursuant to 28 U.S.C. § 1408(1).
 8          13. Property of the Estate includes “all legal or equitable interests of the debtor in property
 9   as of the commencement of the case.” See 11 U.S.C. § 541(a). The concept of property of the
10   estate is broad in scope, encompassing all kinds of property, including tangible and intangible
11   property, causes of action, real and personal property, certain property held by the debtor in trust
12   for others, and certain property of the debtor held by others. See U.S. v. Whiting Pools, 462 U.S.
13   198, n.9 (1983). Interests in real property, such as the Property in this case, is such property of
14   the Estate that may be liquidated for the benefit of creditors.
15          14. 11 U.S.C. § 363(b)(1) provides that “[t]he [T]rustee, after notice and a hearing, may
16   use, sell, or lease, other than in the ordinary course of business, property of the estate ….”
17          15. A trustee must demonstrate a sound business justification for a sale or use of assets
18   outside the ordinary course of business. E.g., In re Continental Air Lines, Inc., 780 F.2d 1223,
19   1226 (5th Cir. 1986). Courts look to various factors to determine whether to approve a motion
20   under section 363(b), such as: (i) whether a sound business reason exists for the proposed
21   transaction; (ii) whether fair and reasonable consideration is provided; (iii) whether the
22   transaction has been proposed and negotiated in good faith; and (iv) whether adequate and
23   reasonable notice is provided. In re Condere, 228 B.R. 615, 626 (S.D. Miss. 1998).
24          16. The Trustee believes in his best business judgment that the prospective sale will
25   generate funds for the benefit of the creditors of this Estate and is in the best interest for all creditors
26   and parties-in-interest. Given the default status of the secured claim, the estimated value of the
27   Property and all other factors, the offer of $7,500.00 on an as-is, where-is basis and subject to all
28   liens, claims and encumbrances, and subject to higher offer, is a reasonable offer in the business
                                                    3
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 1
     judgment of the Trustee.
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              17. Pursuant to Local Rule 6004-1, the Trustee must file a motion and, after notice, obtain
 3
     an Order approving a sale outside the ordinary course of business if the property being sold is
 4
     expected to have a value greater than $2,500.00.
 5

 6      IV.         SALE/BIDDING PROCEDURES

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              18.     Trustee believes that the most efficient and comprehensive way to sell the Estate’s
 8
     interest in the Property is through a telephonic auction.
 9
              19. The Trustee proposes to sell the Estate’s interest in the Property to the person making
10
     the highest and best bid at public sale on Tuesday, June 29, 2021, at 10:00 a.m. MST (Arizona
11
     time) (the “Sale”). Persons that wish to place bids on the Property must call (602) 247-8590 and
12
     enter PIN 223# at the foregoing time.
13
              20. Interested bidders may request information regarding the Estate’s interest in the
14
     Property from Stuart B. Rodgers at stuart.rodgers@lane-nach.com or by contacting him at 602-
15
     258-6000 ext. 319. The Trustee makes no warranties or representations regarding the accuracy
16
     of the information that is produced. Interested bidders may not rely on the information in this
17
     Motion, the Notice of this Motion, or any other documentation provided to them by the
18
     Trustee in making an offer and/or bid and must perform their own due diligence to analyze
19
     the value of the Estate’s interest in the Property.
20
              21. All bids at the Sale shall be subject to higher and better bids until close of the Sale.
21
              22. The Sale is subject to the Trustee’s approval.
22
              23. Payment from the party making the highest and best bid at the Sale will be due the later
23
     of three (3) business days after completion of the Sale or three (3) business days after the entry of
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     this Court’s order approving this Motion.
25
              24. The sale of the Estate’s interest in the Property shall be as-is, where-is, subject to
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     any liens, claims, interests, and encumbrances, with no warranties, representations, or
27
     guarantees express or implied.
28
                                                    4
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            25. Upon the latest of the Court approving the instant Motion, completion of the proposed
 2
     Sale, or receipt of full payment of the purchase price, the Trustee shall execute any necessary
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     assignments or bills of sale to transfer the Estate’s interest in the Property to the prevailing bidder
 4
     subject to the terms set forth herein and an Order entered by the Court approving the terms of the
 5
     sale. If the successful bidder is the Secured Creditor, then the Property will be conveyed via a Deed
 6
     in Lieu of Foreclosure prepared by the Secured Creditor. If the successful bidder is a third party,
 7
     then the conveyance shall be made via Trustee’s Deed.
 8
            26. Notice of the Sale of the Estate’s interest in the Property will be provided to all known
 9
     parties in interest, shall be put on the Lane & Nach, P.C. website and shall be disseminated to
10
     the UST Monthly sale listserve which has approximately 683 recipients who routinely purchase
11
     estate assets in similar circumstances.
12
            27. If the Order approving this Motion has not yet been signed by the time of the Sale,
13
     the Sale will be held pursuant to the procedures set forth herein and bids will be taken with final
14
     approval of the winning bid subject to approval of this Motion.
15
            28. The Trustee seeks authority to execute any documents necessary to carry out the
16
     provisions of this Motion.
17
            29. Upon the later of the Court approving the Motion or completion of the proposed sale
18
     and receipt of full payment of the purchase price, the Trustee shall execute any necessary Title
19
     Transfer Documents transferring the Estate’s interest in the Property to the prevailing bidder(s)
20
     subject to the terms set forth herein and the Order entered, or to be entered, by the Court approving
21
     the terms of the Sale. The Trustee will also file a Notice of Consummation and Report of Sale.
22
            WHEREFORE, the Trustee prays for an Order of this Court as follows:
23
                   A.      Granting Trustee’s Motion to Sell the Estate’s interest in the Property, as-is,
24
                           where-is, subject to any liens, claims, interests, and encumbrances, with no
25
                           warranties, representations, or guarantees express or implied, to the party
26
                           submitting the highest and best offer;
27
                   B.      Approving the bidding procedures as set forth herein;
28
                                                    5
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 1
                  C.    Authorizing the Trustee to accept the proceeds from the sale of the Estate’s
 2
                        interest in the Property;
 3
                  D.    Authorizing the Trustee to execute a Deed in Lieu or Trustee Deed and all
 4
                        additional documents and perform other such acts as may be necessary or
 5
                        reasonably requested to facilitate and complete the transaction; and
 6
                  E.    For such other and further relief as this Court deems just and proper.
 7
           RESPECTFULLY SUBMITTED this 18th day of May, 2021.
 8
                                       LANE & NACH, P.C.
 9
10                                     By: /s/ Stuart B. Rodgers
                                               Stuart B. Rodgers
11                                             Adam B. Nach

12
     A COPY of the foregoing mailed/emailed to:
13
     Colin Stuart Bell
14   Allegiant Law Group
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20   Specialized Loan Servicing LLC
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21   Littleton, CO 80163

22   Specialized Loan Servicing LLC
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23   Littleton, CO 80163

24   Office of U.S. Trustee
     230 North First Avenue
25   Phoenix, AZ 85003
     Email: Edward.K.Bernatavicius@usdoj.gov
26   Email: ustpregion14.px.ecf@usdoj.gov

27   By /s/ S Rochin

28
                                               6
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                                       EXIDBIT "A"



                                  LEGAL DESCRIPTION



     UNIT #14, OF CHAMBERS CREEK VILLAGE, A CONDOMINIUM, ACCORDING TO
     DECLARATION THERE OF RECORDED UNDER THURSTON COUNTY RECORDING NO.
     3840500 AND ANY AMENDMENT(S). THERETO; SAID UNITIS LOCATED ON SURVEY MAP
     AND PLANS RECORDED UNDER RECORDING NO#: 3840501 IN THURSTON COUNTY,
     WASHINGTON.

     Parcel ID(s): 39610000014




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